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             IN THE UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF DELAWARE

IN RE:                                 )
                                       )        CHAPTER 11
MATTRESS FIRM , INC.,                  )
            Debtor,                    )        CASE NUMBER 18-12241-CSS
                                       )


 PETITION FOR RELIEF FROM AND LIFTING OF THE AUTOMATIC
             STAY PROVISIONS OF 11 U.S.C. § 362

      COME NOW ISAAC JENKS (hereinafter “Petitioner”) and files this, his

Petition for Relief From and Lifting of the Automatic Stay of his underlying

liability claims and in support thereof show:

                                           1.
      Petitioner brought, and has pending, a claim for personal injuries against the

above Debtor.

                                           2.
      Petitioner sustained severe injuries after being run over by a commercial

motor vehicle operated by Debtor on August 6, 2018, Debtor was placed on notice

of such claim by and through the service of the lawsuit on July 11, 2017. Isaac

Jenks received the Suggestion of Bankruptcy on October 6, 2018.




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                                          3.
      Debtor’s defense costs and liabilities are covered up to $1 million in the

liability action filed in the State Court of Fulton County State of Georgia now

captioned Isaac Jenks v. Jamal Alexander Chavous, Cordell & Asscoiates, Inc. and

Mattress Firm, Inc., Civil Action Number 17EV003254 (hereinafter Underlying

Civil Action) by a policy of liability insurance issued by Zurich American

Insurance Company, which was produced by Mattress Firm, Inc. in the Underlying

Civil action as a policy that may provide coverage for the Petitioner’s injuries and

damages. Applicable declaration pages are attached hereto as Exhibit A.

                                          4.

      The debtor is a commercial motor carrier operating interstate under US OT

No. 934103 (See, Exhibit B attached hereto) and also under USDOT No. 935583

(See, Exhibit C attached hereto). In the Petitioner’s Underlying Civil Action,

Petitioner claims allege that Mattress Firm, Inc. was acting as the motor carrier that

caused injuries to Petitioner.    As such, all motor vehicle liability policies of

insurance covering Mattress Firm, Inc. may might also provide insurance coverage

of the Petitioner’s claimed injuries and damages. Prior to the automotive stay,

Petitioner was in the process of discovering the details of these policies in his

underlying civil action. Plaintiff believes that these additional policies of liability


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insurance do exist, because a motor carrier cannot operate without having the same

in place, and that such polices will provide insurance coverage to compensate the

Petitioner for his alleged injuries and damages for the claims asserted by Petitioner

in his Underlying Civil Action.

                                          5.

      Pursuant to 28 U.S.C. Section 157 (b)(2)(B), this Court does not have

jurisdiction to liquidate the Petitioner’s Underlying Civil Action.

                                          6.
      For the reasons and under the authority set forth below, Petitioner seeks

relief from the automatic stay provisions imposed by 11 U.S.C. § 362 in order to

pursue his claims for personal injuries and economic damages in the above

described civil action. Petitioner seeks relief from the stay as to the debtor limited

to the extent that the insurance covers Debtor’s liability to Petitioner. Petitioner

intends to seek any amount in excess of the liability coverage from co-defendants.

               ARGUMENT AND CITATION OF AUTHORITY

      Section 362 of the Bankruptcy Code provides that the filing of a bankruptcy

petition operates as a stay of the “commencement or continuation” of all non-

bankruptcy judicial proceedings against the debtor. 1 This stay is automatic and


1
      11 U.S.C. § 362(a)(1).
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“springs into being immediately upon the filing of a bankruptcy petition.” Soares

v. Brockton Credit Union (In re Soares), 107 F.3d 969, 975 (1st Cir.1997).

      However, the Bankruptcy Code also empowers bankruptcy courts to take

measures that grant relief from the automatic stay, including “terminating,

annulling, modifying, or conditioning” the stay, under certain circumstances. 11

U.S.C. § 362(d). As one Court stated, “bankruptcy courts have the plastic powers

to modify or condition an automatic stay so as to fashion the appropriate scope of

relief.” Eastern Refractories Co. Inc. v. Forty Eight Insulations Inc. 157 F.3d 169,

172 (2nd Cir. 1998). This would include situations where the debtor has insurance

to cover the claim at issue.2

      Petitioner seeks relief from the automatic stay in order to permit him to

continue his claims against the Debtor only to the extent of available insurance

coverage. Petitioner is aware of at least one policy of insurance that provides

coverage for the defense and any judgment obtained by Petitioner up to $1 million.

See Exhibit A.




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      The Eleventh Circuit has even recognized that a discharge injunction under
section 524 does not preclude the determination of a debtor's liability for the
purpose of recovery from an insurer. See e.g., In re Jet Florida Systems, Inc., 883
F.2d 970 (11th Cir.1989).

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      Petitioner seeks relief from the stay limited to the extent that available

insurance covers Debtor’s defense and liability. Therefore, other creditors would

not be harmed. See e.g., Matter of New Era, Inc., 135 F.3d 1206, 1208 (7th Cir.

1998); Fleck v. KDI Sylvan Pools, Inc. 981 F.2d 107, 112 (3rd Cir. 1992) (petition

granted but limited solely to the proceeds of the applicable insurance of the

Debtor/Defendant). Accordingly, Petitioner hereby requests that the automatic

stay provisions imposed by 11 U.S.C. § 362 be lifted to enable Petitioner to

proceed with his insurance claim to the extent of the Debtor’s available insurance

coverage. A proposed Consent Order is made apart of this Motion.

      Respectfully submitted, this 5th day of November 2018.


                                     FRIED ROGERS GOLDBERG LLC

                                     /s/ R. Sean McEvoy
                                     R. SEAN MCEVOY
                                     GEORGIA STATE BAR NUMBER 490918

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            CERTIFICATE OF COMPLIANCE AND SERVICE

      The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the Court. This document has been

prepared in Times New Roman font, 14 point, doubled-spaced, with a top margin

of not less than 1.5 inches and left and right margins of not less than 1 inch.

Service shall be made through the Court’s electronic ECF /PACER system.

      Respectfully submitted this 5th day of November 2018.


                                     FRIED ROGERS GOLDBERG LLC

                                     /s/ R. Sean McEvoy
                                     JOSEPH A. FRIED
                                     GEORGIA STATE BAR NUMBER 277251
                                     R. SEAN MCEVOY
                                     GEORGIA STATE BAR NUMBER 490918

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IN RE:                                 )
                                       )       CHAPTER 11
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                                       )


 PETITION FOR RELIEF FROM AND LIFTING OF THE AUTOMATIC
             STAY PROVISIONS OF 11 U.S.C. § 362


                                     ORDER

      Isaac Jenks, a creditor in the above-captioned case, having moved Court for an

Order Modifying the Automatic Stay under 11 U.S.C. Section 362, and it appearing

that Movant will suffer irreparable injury, loss and damage if he is not permitted to

pursue her proper remedies through the State Court of Fulton County State of

Georgia civil action; and

      It appearing that the Bankruptcy Trustee has consented that Movant be

relieved from the Automatic Stay to allow Movant to proceed in the Superior Court

with her medical malpractice and wrongful death case solely to the extent of any

applicable insurance coverage;

      IT IS HEREBY ORDERED AND ADJUDGED that Movant is hereby

relieved from the provisions of the Automatic Stay to proceed in the State Court of

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Fulton County State of Georgia with his civil action personal injury claims against

Debtor, Civil Action File No Civil Action Number 17EV003254, solely to the extent

of any applicable insurance coverage.


      SO ORDERED, this ____ day of __________________, _________.


                                        ______________________________
                                        JUDGE, U.S. Bankruptcy Court

ORDER PREPARED BY:



______________________________
R. SEAN MCEVOY
GEORGIA STATE BAR NUMBER 490918

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